                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION AT FRANKFORT
                              Electronically filed

  COMMONWEALTH OF KENTUCKY, et. al.

         Plaintiffs

                            v.                            Civil Action No. 3:21-cv-
                                                                00055-GFVT
  JOSEPH R. BIDEN in his official capacity as
  President of the United States, et. al.

         Defendants


   PLAINTIFFS’ NOTICE OF INTENT TO RESPOND TO DEFENDANTS’
    EMERGENCY MOTION FOR STAY PENDING APPEAL AND FOR
                 IMMEDIATE EMERGENCY STAY



      The Court granted Plaintiffs’ motion for a preliminary injunction on Tuesday,

November 30, 2021. [R. 50.] After waiting more than three full business days—and

without any advance notice to Plaintiffs—the Defendants filed a self-styled

“emergency motion” for a stay after the close of business on Friday. [R. 53.] Plaintiffs

believe a response within the same three-business-day timeframe is appropriate and

therefore intend to file a response no later than Wednesday, December 8, 2021. The

Plaintiffs will, however, meet any court-ordered deadline.

Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

    I certify that on December 4, 2021, the above document was filed with the
CM/ECF filing system, which will electronically serve a copy to all counsel of record.


                                       /s/ Christopher L. Thacker
                                       Counsel for the Commonwealth




                                          3
